   From:           WANGEL, JONATHAN [jO=CORPNYCHHC/OU=EXCHANGE ADMINISTRATIVE GROUP
                   (FYDI BO H F23SPDLT)/CN =RE CI PI ENTS/CN =62E7199958CE4FBDAC31D33582DC4EF5-WAN GEL, JONAT]
   Sent:           4/4/20194:11:07 PM
   To:             Patsos, Catherine [patsosc@nychhc.org]
   Subject:        RE: Referral




   From: Patsos, Catherine
   Sent: Thursday, April 4, 20194:10 PM
   To: WANGEL, JONATHAN
   Subject: RE: Referral




   From: WANGEL, JONATHAN
   Sent: Thursday, April 4, 2019 1:42 PM
   To: Patsos, Catherine
   Subject: RE: Referral




   From: WANGEL, JONATHAN
   Sent: Wednesday, March 20, 20196:30 PM
   To: Patsos, Catherine
   Subject: Referral

   Good evening,




Confidential
   I'm referring this matter to Corporate Compliance for review. It appears Dr. Melissa Kaye, a Psychiatrist in CHS' Forensic
   Psychiatric Evaluation Court Clinic, electronically recorded on multiple occasions, evaluations of patients. The recordings
   appear to have been created without the consent of the patient or counsel. It is not the practice of CHS to electronically
   record evaluations.

   Additionally, per the attached minutes, Dr. Kaye indicates that she made a recording using an iPhone. I have confirmed
   with IT that Dr. Kaye is not assigned an H+H mobile phone.

   I've attached Part 2 of 2 of the hearing minutes where Dr. Kaye appeared before the Criminal Term of the Bronx
   Supreme Court on February 7, 2019.

   I refer you to transcript pages 343-346 and 414-418 related to a March 12, 2018 evaluation.

   I refer you to page 437, line 18 with regard to a September, 2018 evaluation.

   Glad to discuss further at our meeting tomorrow morning. Thank you.

   Jon




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